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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,
            Plaintiff,

       vs.                                            No. 00-40104-1-JTM

WILLIAM LEONARD PICKARD,
           Defendant.




                              MEMORANDUM AND ORDER


       For good cause shown, the court hereby grants the government’s Motion for

Extension (Dkt. 853); the govern shall file its Response on or before June 22, 2020. The

court will address defendant’s underlying Motion for Release (Dkt. 849) expeditiously

upon the filing of the Response; defendant’s Motion to Expedite (Dkt. 852) is denied in

light of the present order.

       IT IS SO ORDERED this day of June, 2020.




                                        J. Thomas Marten
                                        J. Thomas Marten, Judge
